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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                     DECLARATION OF ACTING OFFICER IN CHARGE
                                LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             Item 5 of the court’s order of April 30, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. As of 9:00 a.m. on June 1, 2020, ICE detained 1,195 detainees at Krome, BTC, and
             Glades.

          4. ICE is housing 444 detainees at BTC; 431 detainees at Krome; and 320 at Glades.

          5. Of the 1,195 detainees, 917 detainees are considered to be subject to mandatory
             detention.
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         6. Of the 444 detainees housed at BTC, 101 have criminal convictions and 343 do not
            have criminal convictions. However, 99 of the 343 detainees with no criminal
            convictions are pending criminal charges.

         7. Of the 431 detainees housed at Krome, 252 have criminal convictions and 179 do not
            have criminal convictions. However, 132 of the 179 detainees with no criminal
            convictions are pending criminal charges.

         8. Of the 320 detainees housed at Glades, 239 have criminal convictions and 81 do not
            have criminal convictions. However, 62 of the 81 detainees with no criminal
            convictions are pending criminal charges.



                                                     Digitally signed by LIANA J CASTANO
                                                     Date: 2020.06.01 13:46:10 -04'00'
   DATED: June 1, 2020        _____________________________________
                                    Liana J. Castano
                                    Assistant Field Office Director
                                    Enforcement and Removal Operations
                                    U.S. Immigration and Customs Enforcement
